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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                  May 01, 2025
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 BROWNSVILLE DIVISION

J.A.V., et al.,                                   §
                                                  §
         Petitioners,                             §
                                                  §
VS.                                               §   CIVIL ACTION NO. 1:25-CV-072
                                                  §
DONALD J. TRUMP, et al.,                          §
                                                  §
         Respondents.                             §

                                   ORDER AND OPINION

         On March 15, 2025, President Donald Trump issued a Proclamation invoking the Alien

Enemies Act (“AEA”), 50 U.S.C. § 21, and declaring that Tren de Aragua, a “designated Foreign

Terrorist Organization[,] . . . is perpetrating, attempting, and threatening an invasion or predatory

incursion against the territory of the United States.” Under the authority of the AEA, the President

proclaimed that “all Venezuelan citizens 14 years of age or older who are members of TdA, are

within the United States, and are not actually naturalized or lawful permanent residents of the

United States are liable to be apprehended, restrained, secured, and removed as Alien Enemies.”

         Petitioners J.A.V., J.G.G., and W.G.H. are natives of Venezuela currently detained at the

El Valle Detention Center in Raymondville, Texas. They bring this action under 28 U.S.C. § 2241,

alleging that by seeking to remove them from the United States based on the Proclamation,

Respondents do so unlawfully and in violation of their due process rights under the Fifth

Amendment to the Constitution. Petitioners challenge that the President can invoke the AEA

under the alleged circumstances, and also deny that they are members of TdA. They bring suit

individually and as representatives of a class of persons within the Southern District of Texas

whom the Respondents will seek to remove based on the Proclamation and the AEA. Petitioners

seek a permanent injunction barring the Respondents from employing the AEA to remove them.

         Neither the Court nor the parties question the Executive Branch’s authority and

responsibility to enforce federal laws and, along with local law enforcement agencies, to protect

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the nation’s population. Neither the Court nor the parties question that the Executive Branch can

direct the detention and removal of aliens who engage in criminal activity in the United States.

The Executive Branch has and will continue to rely on the Immigration and Nationality Act to

remove aliens found to represent a danger to the country. The question that this lawsuit presents

is whether the President can utilize a specific statute, the AEA, to detain and remove Venezuelan

aliens who are members of TdA. As to that question, the historical record renders clear that the

President’s invocation of the AEA through the Proclamation exceeds the scope of the statute and

is contrary to the plain, ordinary meaning of the statute’s terms. As a result, the Court concludes

that as a matter of law, the Executive Branch cannot rely on the AEA, based on the Proclamation,

to detain the Named Petitioners and the certified class, or to remove them from the country. 1

I.       Background and Procedural History

         A. Alien Enemies Act

         In 1798, as a possible war with France loomed, the House Committee for the Protection of

Commerce and Defense of the Country considered legislation regarding aliens living within the

United States, ultimately enacting four laws, including the AEA, now codified at 50 U.S.C. § 21.

See 8 Annals of Congress 1566; see also Bas v. Tingy, 4 U.S. 37, 40 (1800) (describing the

“imperfect war” between the United States and France); JOHN MEACHAM, THOMAS JEFFERSON:

THE ART OF POWER 312 (2012) (describing the laws as “[p]assed in reaction to the war climate”);

From John Adams to United States Congress, 19 March 1798, FOUNDERS ONLINE,

https://founders.archives.gov/documents/Adams/99-02-02-2382                           (imploring      Congress       “to

manifest a zeal, vigor, and concert in defense of the national rights proportioned to the danger

with which they are threatened”). The AEA stands at the center of this lawsuit, and reads:

         Whenever there is a declared war between the United States and any foreign nation
         or government, or any invasion or predatory incursion is perpetrated, attempted,

1 Although this conclusion renders it unnecessary to reach all of the challenges that Petitioners present, to facilitate

appellate review, the Court reaches some of those other issues. See, e.g., Loren F. ex rel. Fisher v. Atlanta Indep. Sch.
Sys., 349 F.3d 1309, 1319 (11th Cir. 2003) (“Given the complexity of the issues, and in an effort to avoid piecemeal
appeals, we direct the district court to address all issues and make alternative rulings.”).



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         or threatened against the territory of the United States by any foreign nation or
         government, and the President makes public proclamation of the event, all natives,
         citizens, denizens, or subjects of the hostile nation or government, being of the age
         of fourteen years and upward, who shall be within the United States and not
         actually naturalized, shall be liable to be apprehended, restrained, secured, and
         removed as alien enemies. The President is authorized in any such event, by his
         proclamation thereof, or other public act, to direct the conduct to be observed on
         the part of the United States, toward the aliens who become so liable; the manner
         and degree of the restraint to which they shall be subject and in what cases, and
         upon what security their residence shall be permitted, and to provide for the
         removal of those who, not being permitted to reside within the United States,
         refuse or neglect to depart therefrom; and to establish any other regulations which
         are found necessary in the premises and for the public safety.
50 U.S.C. § 21.

         The AEA grants broad powers to the President, who may invoke the statute when a

“declared war” exists between the United States and a “foreign nation or government[,]” or when

“any invasion or predatory incursion is perpetrated, attempted, or threatened against the territory

of the United States by any foreign nation or government.” Id. Under either condition, the

President must “make[ ] public proclamation of the event” before exercising his authority under

the statute. Id.

         Upon the satisfaction of these preconditions, the AEA “confers on the president very great

discretionary powers respecting [alien enemies.]” Ludecke v. Watkins, 335 U.S. 160, 164 (1948)

(quoting Brown v. U.S., 12 U.S. 110, 126 (1814)). Authorities from the time of the AEA’s

promulgation described these powers “as unlimited as the legislature could make it.” Id. (quoting

Lockington v. Smith, 15 F. Cas. 758, 760 (C.C.D. Pa. 1817)).

         Once properly invoked, the AEA renders “all natives, citizens, denizens, or subjects . . . of

the hostile nation or government” and who are at least 14 years old, within the United States, and

not actually naturalized, “liable to be apprehended, restrained, secured, and removed as alien

enemies.” 50 U.S.C. § 21. The statute authorizes the President “by his proclamation . . . or other

public act . . . to direct the conduct [by the United States] toward the aliens who become so liable.”

Id. The President can determine “the manner and degree of the restraint to which [the aliens]

shall be subject and in what cases, and upon what security their residence shall be permitted.” Id.

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The President may “provide for the removal of those who, not being permitted to reside within

the United States, refuse or neglect to depart therefrom.” Id.

         Before this year, Presidents of the United States had invoked the AEA in connection with

three wars. First, during the War of 1812, President James Madison issued a proclamation and

required subjects of Great Britain and Ireland “to report themselves to the marshal of the state in

which such aliens resided.” Lockington, 15 F. Cas. at 759. More than a century later, in 1917 and

after the United States had declared war against Germany and entered World War I, President

Woodrow Wilson invoked the statute and curtailed the ability of German aliens to own weapons

or travel freely, and also provided for their possible confinement. See 40 Stat. 1651, 1716, 1730,

1772. Finally, one day after the attack on Pearl Harbor in 1941, President Franklin Delano

Roosevelt made “public proclamation . . . that an invasion has been perpetrated upon the territory

of the United States by the Empire of Japan.” 6 Fed. Reg. 6321. The next day, he further

proclaimed “that an invasion or predatory incursion is threatened upon the territory of the United

States by Germany.” 6 Fed. Reg. 6323; see also 6 Fed. Reg. 6324 (reflecting a simultaneous

proclamation as to Italy); 7 Fed. Reg. 5535 (expanding the declaration to aliens from Hungary,

Romania, and Bulgaria, after Congress declared war on those countries). In July 1945, after the

Axis powers in Europe had unconditionally surrendered, President Harry Truman issued an

amended proclamation that permitted the removal of Japanese, German, Italian, Bulgarian,

Hungarian, and Romanian aliens whom the Attorney General deemed “to be dangerous to the

public peace and safety of the United States because they have adhered to the aforesaid enemy

governments or to the principles of government thereof [.]” 10 Fed. Reg. 8947.

         B. Venezuela and Tren de Aragua

         In 2011, President Barack Obama issued an executive order to block property ownership

by “transnational criminal organizations.” Blocking Property of Transnational Criminal

Organizations, 76 Fed. Reg. 44757 (2011).        Based on this executive order, the Treasury

Department issued regulations prohibiting United States citizens and businesses from engaging


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in commerce or otherwise providing material support to designated groups. 31 C.F.R. § 590.201.

The regulations, which remain in effect, define a “significant transnational criminal organization”

(TCO) as “a group of persons that includes one or more foreign persons; that engages in or

facilitates an ongoing pattern of serious criminal activity involving the jurisdictions of at least two

foreign states, or one foreign state and the United States; and that threatens the national security,

foreign policy, or economy of the United States.” 31 C.F.R. § 590.312. President Obama declared

that TCO’s identified in the executive order were “dangerous to the United States,” “increasingly

entrenched in the operations of foreign governments,” “facilitat[ed] and aggravate[d] violent civil

conflicts and increasingly facilitate[d] the activities of other dangerous persons[,]” and posed “an

unusual and extraordinary threat to the national security, foreign policy, and economy of the

United States[.]” 76 Fed. Reg. 44757. An accompanying annex identified specific TCOs, but did

not include TdA.

         In 2017, the Treasury Department designated Tareck Zaidan el Aissamu Maddah–the

then-vice president of Venezuela–as a foreign narcotics trafficker under the Kingpin Act, 21 U.S.C.

§ 1901, and blocked him from possessing property or engaging in transactions within the United

States. See Sanctions Actions Pursuant to the Foreign Narcotics Kingpin Designation Act, 82 Fed.

Reg. 11101-01. In 2020, the United States indicted Zaidan el Aissamu and two co-defendants for

alleged violations of the imposed sanctions. See United States v. Coro, et al., Criminal Case No.

1:19-cr-00144 (S.D.N.Y. 2020).

         In July 2024, the Treasury Department placed TdA on its sanctions list as a significant

TCO. See Notice of OFAC Sanctions Actions, 89 Fed. Reg. 57994-01 (referencing President

Obama’s Executive Order 13581 of July 24, 2011).

         In December 2024, INTERPOL Washington announced the capture in Tennessee of Luis

Alejandro Ruiz Godoy, an alleged high-ranking member of TdA. Jeffrey A. Grimming, the then-

Acting Director for INTERPOL Washington, commented that “Tren de Aragua has emerged as a




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significant threat to the United States as it infiltrates migration flows from Venezuela.” 2 High

Ranking Tren de Aragua Fugitive from Venezuela Arrested in Tennessee Thanks to INTERPOL

Collaboration,       INTERPOL          WASHINGTON,          U.S.    DEP’T      OF    JUST.     (Dec.     3,    2024),

https://www.justice.gov/interpol-washington/pr/high-ranking-tren-de-aragua-fugitive-

venezuela-arrested-tennessee-thanks.

         On March 15, 2025, President Donald Trump issued the Proclamation at issue in this

lawsuit. The Proclamation included several statements regarding TdA and the Venezuelan

government:

         [TdA] is a designated [TCO] with thousands of members, many of whom have
         unlawfully infiltrated the United States and are conducting irregular warfare and
         undertaking hostile actions against the United States.

         TdA operates in conjunction with Cártel de los Soles, the Nicolas Maduro regime-
         sponsored, narco-terrorism enterprise based in Venezuela, and commits brutal
         crimes, including murders, kidnappings, extortions, and human, drug, and
         weapons trafficking.

         TdA has engaged in and continues to engage in mass illegal migration to the United
         States to further its objectives of harming United States citizens, undermining
         public safety, and supporting the Maduro regime’s goal of destabilizing democratic
         nations in the Americas, including the United States.

         TdA is closely aligned with, and indeed has infiltrated, the Maduro regime,
         including its military and law enforcement apparatus.

         TdA grew significantly while Tareck El Aissami served as governor of Aragua
         between 2012 and 2017. In 2017, El Aissami was appointed as Vice President of
         Venezuela.

         Like El Aissami, Nicolas Maduro, who claims to act as Venezuela’s President and
         asserts control over the security forces and other authorities in Venezuela, also
         maintains close ties to regime-sponsored narco-terrorists. Maduro leads the
         regime sponsored enterprise Cártel de los Soles, which coordinates with and relies
         on TdA and other organizations to carry out its objective of using illegal narcotics
         as a weapon to “flood” the United States.

         Over the years, Venezuelan national and local authorities have ceded ever-greater
         control over their territories to transnational criminal organizations, including
         TdA. The result is a hybrid criminal state that is perpetrating an invasion of and
         predatory incursion into the United States, and which poses a substantial danger
         to the United States.

2 Interpol Washington is the designated United States representative, on behalf of the nation’s Attorney General, to the

International Criminal Police Organization (INTERPOL). See 22 U.S.C 263a; CFR Title 28 Subpart F-2 § 0.34.

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Invocation of the Alien Enemies Act Regarding the Invasion of the United States by Tren de

Aragua, 90 Fed. Reg. 13033 (“Proclamation”).           Based on these statements, the President

proclaimed:

         I find and declare that TdA is perpetrating, attempting, and threatening an
         invasion or predatory incursion against the territory of the United States. TdA is
         undertaking hostile actions and conducting irregular warfare against the territory
         of the United States both directly and at the direction, clandestine or otherwise, of
         the Maduro regime in Venezuela.

Id. at 13034.

         C. Petitioners

         Petitioner J.A.V. is a Venezuelan national who claims that he entered the United States to

seek asylum from persecution in Venezuela. In February 2025, ICE agents arrested him at his

asylum interview. When questioned, he denied membership in TdA. ICE initially detained J.A.V.

in Pennsylvania, but on March 9 transferred him to El Valle Detention Center in Raymondville,

Texas. On March 14, J.A.V. was informed that he would be removed within the next two days.

         Petitioner J.G.G. is a Venezuelan national who alleges that he entered the United States to

escape torture in Venezuela because a family member is a known political dissident. On March 6,

he was transferred from California to El Valle. On March 14, the Respondents attempted to

remove him, but the airplane did not depart. He was told that he would be removed the following

day.

         Petitioner W.G.H. is a Venezuelan national who lived in Brooklyn with his wife and

stepdaughter.     ICE arrested him on February 20, and on March 7 filed a form with the

immigration court that identified W.G.H. as a TdA “gang associate.” Three days later, he was

transferred to El Valle, where guards informed him that he would be removed on March 15 or 16.

         D. Procedural History

         On March 15, the Petitioners (along with two co-plaintiffs) filed a lawsuit in the United

States District Court for the District of Columbia challenging the Proclamation, in part under the



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Administrative Procedure Act. After the court issued a temporary restraining order that applied

nationwide and enjoined the removal of individuals based on the Proclamation, the respondents

appealed and the matter ultimately reached the nation’s high court. On April 7, the Supreme

Court dissolved the temporary restraining order, reasoning that because the Petitioners’ “claims

for relief necessarily imply the invalidity of their confinement and removal under the AEA, their

claims fall within the core of the writ of habeas corpus and thus must be brought in habeas.”

Trump v. J.G.G., — U.S. —, No. 24A931, 2025 WL 1024097, at *1 (Apr. 7, 2025). The ruling

required Petitioners to file the habeas action in the district of their detention. Id.

         On April 9, Petitioners filed their Class Petition for Writ of Habeas Corpus in this Court,

as they are detained in the Southern District of Texas. 3 They challenge Respondents’ ability to

remove them based on the Proclamation and the AEA, and also deny their membership in TdA.

They sought to represent a class of “[a]ll noncitizens in custody in the Southern District of Texas

who were, are, or will be subject to the [Proclamation] and/or its implementation.” (Pet., Doc. 1,

15)

         The Petitioners simultaneously filed a motion for a Temporary Restraining Order (Doc. 3)

to prevent Respondents from removing them or any putative class members. On April 9, the Court

granted the motion and enjoined Respondents from “transferring, relocating, or removing J.A.V.,

J.G.G., W.G.H., or any other person that Respondents claim are subject to removal under the

Proclamation, from the El Valle Detention Center[,]” as well as from “transporting such persons

outside of Willacy County or Cameron County, Texas, without an Order from the Court.” (TRO

Order, Doc. 12, 3) The Court has extended the temporary restraining order to allow for the


3  This lawsuit represents one of several that have challenged the removal of Venezuelan aliens designated as alien
enemies under the Proclamation, and that petitioners filed after the Supreme Court’s J.G.G. decision. See D.B.U. v.
Trump, No. 1:25-CV-01163-CNS, 2025 WL 1163530 (D. Colo. Apr. 22, 2025); G.F.F. v. Trump, No. 25 CIV. 2886 (AKH),
2025 WL 1166911 (S.D.N.Y. Apr. 11, 2025); Gutierrez-Contreras v. Warden, No. 5:25-CV-00911-SSS-KES, 2025 WL
1122541 (C.D. Cal. Apr. 16, 2025); A.S.R. v. Trump, No. 3:25-CV-00113, 2025 WL 1208275 (W.D. Pa. Apr. 25, 2025);
Sanchez Puentes v. Garite, No. EP-25-CV-00127-DB, 2025 WL 1203179 (W.D. Tex. Apr. 25, 2025); A.A.R.P. v. Trump,
No. 1:25-CV-059-H, 2025 WL 1148140 (N.D. Tex. Apr. 17, 2025), appeal dismissed, No. 25-10534, 2025 WL 1148141
(5th Cir. Apr. 18, 2025). Only some courts have reached the merits of the petitioners’ claims, typically in the context of
determining the petitioners’ likelihood of success on those claims. To the extent that these courts have reached the
legal issues that are also pending before this Court, their decisions are not binding, but represent persuasive authority.

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development of the record and resolution of the issues presented. (TRO Order, Doc. 34; TRO

Order, Doc. 50)

         Petitioners then filed a Motion for a Preliminary Injunction (Doc. 42), which the parties

have fully briefed. On April 24, the Court held a hearing to consider the request for a preliminary

injunction, as well as the then-pending Motion for Class Certification (Doc. 4).

         At the April 24 hearing, Respondents represented that during the pendency of this habeas

action, they would not seek the removal of the Named Petitioners, unless through removal

proceedings under the Immigration and Nationality Act. This stipulation negated the Named

Petitioners’ request for a preliminary injunction, which would have provided the same protections

as the Respondents’ stipulation.

         The Court notified the parties that it considered the legal issues raised by the Motion for

Preliminary Injunction fully briefed and ready for adjudication. The Court stated that it would

convert the Motion for Preliminary Injunction into a motion for summary judgment. See FED. R.

CIV. P. 65(a)(2) (permitting trial courts to consolidate a motion for a preliminary injunction with

a trial on the merits); Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981) (noting that “the

parties should normally receive clear and unambiguous notice of the court’s intent to consolidate

the trial and the hearing either before the hearing commences or at a time which will still afford

the parties a full opportunity to present their respective cases”) (cleaned up). In response to the

Court’s inquiry whether the parties objected to this conversion, each side represented that they

did not. As a result, the Court will consider the issues that the Motion for Preliminary Injunction

raises under Federal Rule of Civil Procedure 56.

         On May 1, 2025, the Court granted Petitioners’ Motion for Class Certification (Doc. 4) and

certified a class composed of Venezuelan aliens, 14 years old or older, who have not been

naturalized, who Respondents have designated or in the future designate as alien enemies under

the Proclamation, and who are detained or reside in the Southern District of Texas. (See Order

and Opinion, Doc. 57)


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II.       Analysis

          Petitioners seek habeas relief by challenging the President’s invocation of the AEA on three

grounds. First, they contend that the Proclamation fails to provide Petitioners with reasonable

notice and a meaningful opportunity to challenge their designation as alien enemies. Second, they

argue that the Proclamation “does not fall within the statutory bounds of the AEA,” both because

no “invasion” or “predatory incursion” has occurred or been threatened, and no “foreign nation

or government” has engaged in such conduct. (PI Mot., Doc. 42, 22) And third, Petitioners claim

that the Proclamation “violates the specific protections that Congress established under the INA

for noncitizens seeking humanitarian protection.” (Id. at 30)

          Respondents contest the validity of each ground. In addition, Respondents present the

threshold question of whether the Court may consider the issues at all, arguing that “no

jurisdiction [exists] to review the President’s Proclamation.” (Resp., Doc. 45, 20)

          The Court will first address the jurisdictional question before considering the specific

arguments that the Petitioners advance.

          A. Applicable Standard

          Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P.

56(a). In cases where “the only issues before the court are pure questions of law, summary

judgment is appropriate.” Maxim Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350 (5th

Cir. 2021) (cleaned up); see also Chandris, Inc. v. Latsis, 515 U.S. 347, 369 (1995) (“Because

statutory terms are at issue, their interpretation is a question of law and it is the court’s duty to

define the appropriate standard.”).

          Petitioners bring their action in habeas. Although they do not seek release from detention,

individuals can utilize a habeas action to prevent their unlawful removal. See J.G.G., 2025 WL

1024097, at *1 (citing Nance v. Ward, 597 U.S. 159, 167 (2022)). In addition, courts have granted

relief in habeas based upon a finding that the detaining agencies have acted contrary to the law.


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See, e.g., Ex parte Milligan, 71 U.S. 2, 131 (1866) (concluding that a private citizen could not be

tried by a military commission during the Civil War when the civilian courts continued to

function).

          B. Political Question

          The Respondents contend first that the “President’s authority and discretion under the

AEA is not a proper subject for judicial scrutiny.” (Resp., Doc. 45, 20) Relatedly, they claim that

“[w]hether the AEA’s preconditions are satisfied is a political question committed to the

President’s discretion[.]” (Id. at 21) In both instances, they rely on substantial caselaw describing

the broad powers that the AEA places in the President.

          Petitioners respond that the political question doctrine represents a “narrow exception” to

the Court’s jurisdiction, and that applying it here to prevent judicial review would undermine

congressional authority by rendering the limits that Congress placed in the statute unenforceable.

(PI Motion, Doc. 42, 18) In addition, they note the observation by then-Judge Brett Kavanaugh

that “[t]he Supreme Court has never applied the political question doctrine in a case involving

alleged statutory violations.” (Id. at 19 (quoting El-Shifa Pharm. Indus. Co. v. United States, 607

F.3d 836, 856 (D.C. Cir. 2010) (Kavanaugh, J., concurring) (emphasis in original)))

          “In general, the Judiciary has a responsibility to decide cases properly before it, even those

it ‘would gladly avoid.’” Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012) (quoting

Cohens v. Virginia, 6 Wheat. 264, 404 (1821)). The Supreme Court, however, has recognized “a

narrow exception . . . known as the ‘political question’ doctrine.” Id. The doctrine dates back to

the founding era, when Chief Justice John Marshall explained that “[q]uestions, in their nature

political, or which are, by the constitution and laws, submitted to the executive, can never be made

in [the] court.” Marbury v. Madison, 5 U.S. 137, 170 (1803). The doctrine “reflects the principle

that, under our Constitution, there are some questions that cannot be answered by the judicial

branch.” Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008); see also TransUnion LLC v.




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Ramirez, 594 U.S. 413, 423–24 (2021) (“Federal courts do not exercise general legal oversight of

the Legislative and Executive Branches.”).

          The Supreme Court in 1827 analyzed the application of the political question doctrine in

Martin v. Mott, 25 U.S. 19 (1827), a case concerning the Militia Act of 1795. The statute permitted

the President to call up the state militia “whenever the United States shall be invaded, or be in

imminent danger of invasion from any foreign nation or Indian tribe.” Martin, 25 U.S. at 29. As

the War of 1812 approached, President James Madison invoked the Militia Act and instructed

New York Governor Daniel Tompkins to call up the state militia. When Jacob E. Mott refused to

appear after having been summoned, he was court-martialed by the federal government and was

fined and had his property seized. He sued to have the fine reversed and his property returned,

arguing that he had been unlawfully called into service.

          The Supreme Court rejected Mott’s argument, explaining that while Congress held the

Constitutional power to mobilize the militia to repel invasions, it had delegated that power to the

President through the Militia Act. Id. at 28 (citing U.S. CONST. art. I, § 8). The Supreme Court

framed the crucial question as: “Is the President the sole and exclusive judge whether the exigency

has arisen[?]” Id. Answering in the affirmative, Justice Joseph Story unambiguously wrote, “[w]e

are all of opinion, that the authority to decide whether the exigency has arisen, belongs exclusively

to the President, and that his decision is conclusive upon all other persons.” Id. at 30; see also id.

at 31–32 (“Whenever a statute gives a discretionary power to any person, to be exercised by him

upon his own opinion of certain facts, it is a sound rule of construction, that the statute constitutes

him the sole and exclusive judge of the existence of those facts.”).

          The Supreme Court in Martin recognized the broad power that the Militia Act placed in

the President, and the potential for abuse of that power. Justice Story reasoned, however, that

the remedy for such abuse lay in the political realm and not in the judiciary:

          It is no answer that such a power may be abused, for there is no power which is not
          susceptible of abuse. The remedy for this, as well as for all other official
          misconduct, if it should occur, is to be found in the constitution itself. In a free


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          government, the danger must be remote, since in addition to the high qualities
          which the Executive must be presumed to possess, of public virtue, and honest
          devotion to the public interests, the frequency of elections, and the watchfulness
          of the representatives of the nation, carry with them all the checks which can be
          useful to guard against usurpation or wanton tyranny.

Id. at 32; see also Mitchell v. Forsyth, 472 U.S. 511, 541 (1985) (Stevens, J., concurring) (writing

that when Executive Branch officials “make erroneous decisions on matters of national security

and foreign policy, the primary liabilities are political. Intense scrutiny, by the people, by the

press, and by Congress, has been the traditional method for deterring violations of the

Constitution by these high officers of the Executive Branch”).

          More than a century later, in the context of World War II, the Supreme Court considered

challenges concerning the Alien Enemies Act. In at least two of those cases, the nation’s high

court recognized the broad powers that the AEA placed in the President. “The very nature of the

President’s power to order the removal of all enemy aliens rejects the notion that courts may pass

judgment upon the exercise of his discretion.” Ludecke, 335 U.S. at 164. “Executive power over

enemy aliens, undelayed and unhampered by litigation, has been deemed, throughout our history,

essential to war-time security.” Johnson v. Eisentrager, 339 U.S. 763, 774 (1950). 4

          In those decisions, however, the Supreme Court also identified issues related to the AEA

that are subject to adjudication. In Ludecke, the Supreme Court confirmed that “resorts to the

courts may be had . . . to challenge the construction and validity of the statute and to question the

existence of the ‘declared war[.]’” Ludecke, 335 U.S. at 171; see id. at 163–64 (“[S]ome statutes

‘preclude judicial review.’ . . . Barring questions of interpretation and constitutionality, the

[AEA] is such a statute.”) (emphasis added). And Johnson recognized that courts could “entertain

[a detained individual’s] plea for freedom from Executive custody only to ascertain the existence

of a state of war and whether he is an alien enemy and so subject to the [AEA].” Johnson, 339 U.S.

at 775; see also Ludecke, 335 U.S. at 171 (“[R]esort to the courts may be had . . . to question the


4 Lower courts also recognized the President’s broad powers under the AEA. See, e.g, Citizens Protective League v.

Clark, 155 F.2d 290, 294 (D.C. Cir. 1946) (“Unreviewable power in the President to restrain, and to provide for the
removal of, alien enemies in time of war is the essence of the Act.”).

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existence of the ‘declared war[.]’”). Relying on these decisions, the Supreme Court recently

reaffirmed “that an individual subject to detention and removal under [the AEA] is entitled to

‘judicial review’ as to ‘questions of interpretation and constitutionality’ of the Act as well as

whether he or she ‘is in fact an alien enemy fourteen years of age or older.’” 5 J.G.G., 2025 WL

1024097, at *2.

          In 1962, the Supreme Court analyzed the political question doctrine in depth and

identified six “formulations . . . in which the issues [that a lawsuit presents] may describe a

political question.” Baker v. Carr, 369 U.S. 186, 216 (1962). The formulations include:

          (1) “a textually demonstrable constitutional commitment of the issue to a
              coordinate political department;”

          (2) “a lack of judicially discoverable and manageable standards for resolving it;”

          (3) “the impossibility of deciding without an initial policy determination of a kind
              clearly for nonjudicial discretion;”

          (4) “the impossibility of a court’s undertaking independent resolution without
              expressing lack of the respect due coordinate branches of government;”

          (5) “an unusual need for unquestioning adherence to a political decision already
              made; or”

          (6) “the potentiality of embarrassment from multifarious pronouncements by
              various departments on one question.”

Lane, 529 F.3d at 558 (quoting Baker, 369 U.S. at 217). “Unless one of these formulations is

inextricable from the case at bar, there should be no dismissal for nonjusticiability on the ground

of a political question’s presence.” Baker, 369 U.S. at 217.

          Importantly, the doctrine bars judicial review of “‘political questions,’ not one of ‘political

cases.’” Id. As a result, “Baker demands a ‘discriminating inquiry into the precise facts and

posture of the particular case’ before a court may withhold its own constitutional power to resolve



5 Courts can also adjudicate “whether [the affected individual] is an alien enemy and so subject to the Alien Enemy Act.”

Johnson, 339 U.S. 763, 775; see also Ludecke, 335 U.S. at 171 n.17 (“The additional question as to whether the person
restrained is in fact an alien enemy fourteen years of age or older may also be reviewed by the courts.”). In the present
case, Respondents acknowledge that individuals identified as alien enemies under the President’s Proclamation are
entitled to challenge their designation as TdA members through a habeas proceeding.

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cases and controversies.” Lane, 529 F.3d at 558 (quoting Baker, 369 U.S. at 216). “The Baker

analysis is not satisfied by ‘semantic cataloguing’ of a particular matter as one implicating ‘foreign

policy’ or ‘national security.’” Id.; see also El-Shifa, 841 F.3d at 836 (recognizing that not “every

case or controversy which touches foreign relations lies beyond judicial cognizance”).

          Respondents argue that reaching the issues that Petitioners present runs afoul of at least

two Baker formulations. First, Respondents contend that “the determination that an ‘invasion’

or ‘predatory incursion’ is being perpetrated sits at the intersection of two areas that the

Constitution commits to the political branches: (1) foreign affairs, [ ]; and (2) immigration

policy[.]” (Resp., Doc. 45, 22) Second, they argue that “no manageable standards permit[] courts

to assess exactly when hostile entry and criminal and violent acts constitute an ‘invasion’ or

‘predatory incursion’ for AEA purposes.” (Id.)

          No court appears to have applied the Baker analysis to the AEA. Based on the Supreme

Court’s decisions regarding the AEA, as well as the principles enumerated in Baker, the Court

concludes that while it may not adjudicate the veracity of the factual statements in the

Proclamation, or the propriety of the steps taken by the President as to Venezuelan aliens and

TdA members, the Court retains the authority to construe the AEA’s terms and determine whether

the announced basis for the Proclamation properly invokes the statute.

          The Supreme Court in J.G.G. confirmed that “questions of interpretation” fall within the

Judiciary’s responsibility. This role is not surprising, given that whether a government actor’s

“interpretation of [a] statute is correct . . . is a familiar judicial exercise.” Zivotofsky, 566 U.S. at

196; see also Japan Whaling Ass’n v. American Cetacean Soc’y, 106 U.S. 2860, 2866 (1986) (“[I]t

goes without saying that interpreting congressional legislation is a recurring and accepted task for

the federal courts.”). “[T]hat a case or controversy may involve the conduct of the nation’s foreign

affairs does not necessarily prevent a court from determining whether the Executive has exceeded

the scope of prescribed statutory authority or failed to obey the prohibition of a statute or treaty.”

El-Shifa, 607 F.3d at 842; see also Japan Whaling, 106 U.S. at 2866 (“But under the Constitution,


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one of the Judiciary’s characteristic roles is to interpret statutes, and we cannot shirk this

responsibility merely because our decision may have significant political overtones.”). At times,

analyzing whether a government official has impermissibly crossed statutory boundaries requires

determining the meaning of statutory terms and gauging the government’s actions against those

determined parameters. See, e.g., Harmon v. Brucker, 355 U.S. 579, 582 (1958) (“The District

Court had not only jurisdiction to determine its jurisdiction but also power to construe the statutes

involved to determine whether the respondent did exceed his powers.”); Stark v. Wickard, 321

U.S. 288, 310 (1944) (“The responsibility of determining the limits of statutory grants of authority

in such instances is a judicial function entrusted to the courts by Congress by the statutes

establishing courts and marking their jurisdiction.”). As applied to the AEA, this principle

signifies that only by construing the meaning of “invasion,” “predatory incursion,” and “foreign

nation or government” can the Court analyze whether the President has properly invoked the

statute through the Proclamation, or whether he has exceeded his statutory authorization.

          Consistent with this conclusion, the Second Circuit during the 1940’s construed various

provisions of the AEA. See, e.g., U S ex rel D’Esquiva v. Uhl, 137 F.2d 903, 905 (2d Cir. 1943)

(determining the meaning of “citizen” and “native”: “The use by Congress of the four words

‘natives, citizens, denizens, or subjects’ indicated that each word is to have a significant and

different meaning”); U.S. ex rel. Zdunic v. Uhl, 137 F.2d 858, 860 (2d Cir. 1943) (“The ultimate

issue for determination is whether the relator is a ‘native, citizen, denizen, or subject’ of Germany.

The meaning of those words as used in the statute, [ ] presents a question of law.”); U.S. ex rel.

Gregoire v. Watkins, 164 F.2d 137, 138 (2d Cir. 1947) (considering “whether the relator is a ‘native’

of Germany within the meaning” of the AEA); U.S. ex rel. Kessler v. Watkins, 163 F.2d 140, 142

(2d Cir. 1947) (concluding that the meaning of threatened “invasion” or “predatory incursion” did

not require “active hostilities”). And the Court is unaware of any judicial authority declining to

determine the meaning of the AEA’s terms based on the political question doctrine.




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          Baker does not require a different conclusion. It is true that the Constitution ascribes

authority and responsibility for foreign policy and national security to the Legislative and

Executive branches. And “[m]atters intimately related to foreign policy and national security are

rarely proper subjects for judicial intervention.” Haig v. Agee, 453 U.S. 280, 292 (1981); see also

Dep’t of Navy v. Egan, 484 U.S. 518, 527 (1988) (“[U]nless Congress specifically has provided

otherwise, courts traditionally have been reluctant to intrude upon the authority of the Executive

in military and national security affairs.”); Orloff v. Willoughby, 345 U.S. 83, 91 (1953) (declining

to exercise judicial review over the President’s decision not to commission Orloff as an Army

officer: “Whether Orloff deserves appointment is not for judges to say”). But construing the

language of the AEA does not require courts to adjudicate the wisdom of the President’s foreign

policy and national security decisions. Determining what conduct constitutes an “invasion” or

“predatory incursion” for purposes of the AEA is distinct from ascertaining whether such events

have in fact occurred or are being threatened. The former turns on applying accepted principles

of statutory construction; the latter on analyzing factual intelligence and data, including some to

which the Executive Branch possesses unique access, and applying independent judgment and

weighing competing priorities. Courts routinely engage in the former, but are ill-equipped to

second guess the President’s decisions as to the latter. This distinction also refutes Respondents’

contention that applying judicial review would rely on “no manageable standards.” On the

contrary, courts regularly apply known canons of construction to determine the meaning of

statutory language.

          On the other hand, some issues that Petitioners raise present a political question beyond

judicial review. Once a court defines the parameters of what conduct constitutes an “invasion” or

“predatory incursion” for purposes of the AEA, the court leaves to the Executive Branch the

determination of whether such conduct has been perpetrated, attempted, or threatened. For

example, a court may decide that one aspect of “invasion” and “predatory incursion” requires

physical entry into the United States. In other words, a court may conclude that no invasion or


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predatory incursion has occurred or has been threatened if the alleged conduct does not involve

the entry of individuals into the country. The court having determined the meaning of these

terms, it is left to the Executive Branch to determine whether a foreign nation or government has

threatened or perpetrated activity that includes such an entry. As to this decision, the court may

not delve into whether the Executive Branch possesses sufficient support for its conclusion, or

whether the court agrees with the Executive Branch’s determinations. That analysis would

require the Executive Branch to disclose to the court the domestic and foreign intelligence that

undergirds the finding of an actual or threatened invasion or predatory incursion. And requiring

the Executive Branch to do so would run counter to the admonition that “it is inconceivable that

before an alien enemy could be removed from the territory of this country in time of war, the

President should be compelled to spread upon the public record in a judicial proceeding the

method by which the Government may detect enemy activity within our borders[.]” Citizens

Protective League, 155 F.2d at 294; see also Holder v. Humanitarian L. Project, 561 U.S. 1, 34

(2010) (“[N]ational security and foreign policy concerns arise in connection with efforts to

confront evolving threats in an area where information can be difficult to obtain and the impact

of certain conduct difficult to assess.”); Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S.

103, 111 (1948) (explaining that decisions involving national security and foreign policy “are

delicate, complex, and involve large elements of prophecy. They are and should be undertaken

only by those directly responsible to the people whose welfare they advance or imperil”); Martin,

25 U.S. at 31 (“[T]he evidence upon which the President might decide that there is imminent

danger of invasion [for purposes of the Militia Act of 1795], might be of a nature not constituting

strict technical proof, or the disclosure of the evidence might reveal important secrets of state,

which the public interest, and even safety, might imperiously demand to be kept in

concealment.”). Thus, in the present case, while the Court will construe the meaning of the AEA’s

language, the Court declines to consider Petitioner’s argument that “the Proclamation’s




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conclusory ‘findings[]’ [regarding Venezuela and TdA] . . . cannot survive even the most minimally

searching inquiry because they are simply incorrect as a factual matter.” 6 (PI Mot., Doc. 42, 28)

          As a corollary, the Court concludes that a Presidential declaration invoking the AEA must

include sufficient factual statements or refer to other pronouncements that enable a court to

determine whether the alleged conduct satisfies the conditions that support the invocation of the

statute. The President cannot summarily declare that a foreign nation or government has

threatened or perpetrated an invasion or predatory incursion of the United States, followed by the

identification of the alien enemies subject to detention or removal. Cf. United States v. Abbott,

110 F.4th 700, 736 (5th Cir. 2024) (“To be sure, a state of invasion under Article I, section 10 does

not exist just because a State official has uttered certain magic words.”) (Ho, J., concurring).

Allowing the President to unilaterally define the conditions when he may invoke the AEA, and

then summarily declare that those conditions exist, would remove all limitations to the Executive

Branch’s authority under the AEA, and would strip the courts of their traditional role of

interpreting Congressional statutes to determine whether a government official has exceeded the

statute’s scope. The law does not support such a position. See, e.g., Comm. for Nuclear Resp.,

Inc. v. Seaborg, 463 F.2d 788, 793 (D.C. Cir. 1971) (“An essential ingredient of our rule of law is

the authority of the courts to determine whether an executive official or agency has complied with

the Constitution and with the mandates of Congress which define and limit the authority of the

executive.”); see also Boumediene v. Bush, 553 U.S. 723, 783 (2008) (reasoning that a court

considering a person’s habeas action challenging his detention based on an executive order “must

have sufficient authority to conduct a meaningful review of both the cause for detention and the

Executive’s power to detain”).




6 As a result, declarations that Respondents submitted and that contest the factual statements regarding TdA and its

links to Venezuela in the Proclamation do not bear on the issues that the Court can consider. (See Declaration of Rebecca
Hanson, Doc. 42–2; Declaration of Andres Antillano, Doc. 42–3; Declaration of Steven Dudley, Doc. 42–4 (“[The]
characterization of the relationship between the Venezuelan state and Tren de Aragua as it relates to its activities in the
United States is simply incorrect.”))

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          The Court is mindful that the Executive Branch may possess sensitive and confidential

information leading to its conclusion that a foreign nation or government has attempted,

threatened, or perpetrated an invasion or predatory incursion of the United States. But this

possibility does not require the conclusion that the AEA is an exception to the general rule that

courts possess the traditional role of interpreting Congressional statutes and determining whether

a government actor has exceeded the scope of the law. While a President’s declaration invoking

the AEA need not disclose all of the information that the Executive Branch possesses to support

its invocation of the statute, it must identify sufficient information to permit judicial review of

whether the foreign nation or government’s conduct constitutes an actual, attempted, or

threatened invasion or predatory incursion of the United States. 7

          Having concluded that the political question doctrine does not preclude the Court from

considering some of the arguments that Respondents present, the Court turns to those

permissible areas of inquiry.

          C. Adequacy of Notice and Notice Procedures

          Petitioners contend that the Respondents’ intended application of the AEA fails to satisfy

the requirements of the statute itself and to provide adequate due process to the individuals

designated as alien enemies. (PI Mot., Doc. 42, 20) In advancing this legal theory, they cite the

Supreme Court’s recent confirmation that the President must provide “notice” to individuals

designated as alien enemies, and “[t]he notice must be afforded within a reasonable time and in

such a manner as will allow [AEA detainees] to actually seek habeas relief in the proper venue

before [ ] removal occurs.” (Id. at 11 (quoting J.G.G., 2025 WL 1024097, at *2)) They reject

Respondents’ position that the AEA and due process rights are satisfied by giving individuals

designated as alien enemies 12 hours to express an intent to file a habeas action, and an additional




7 In appropriate circumstances, courts may also employ tools such as the submission of sensitive information for in

camera review.

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24 hours to initiate such a claim, before the Government can move forward with their removal.

(See Declaration of Carlos D. Cisneros, Doc. 49)

          Respondents emphasize that as to the Named Petitioners, any challenge to the adequacy

of the notice is moot, as Named Petitioners have challenged their designation as alien enemies.

(Resp., Doc. 45, 18 (“[T]his very proceeding refutes that claim.”)) The Named Petitioners,

according to Respondents, cannot demonstrate any injury from the alleged deficiencies in the

notice procedures.

          As to the Named Petitioners, the Court agrees. Standing requires a concrete injury, one

that is “real” rather than “abstract.” Texas v. United States, 126 F.4th 392, 407 (5th Cir. 2025).

“A grievance that amounts to nothing more than an abstract and generalized harm to a citizen’s

interest in the proper application of the law does not count as an injury in fact.” Carney v. Adams,

592 U.S. 53, 58 (2020) (cleaned up). For example, while a plaintiff may be injured by the

defendant’s failure to timely provide certain information, the plaintiff must demonstrate

“downstream consequences” stemming from that failure to have a concrete injury. TransUnion

LLC, 594 U.S. at 442.

          In the present case, the notice that the AEA requires serves to allow the designated

individuals the ability “to actually seek habeas relief in the proper venue.” J.G.G., 2025 WL

1024097, at *2. The Named Petitioners have sought such relief. Through their lawsuit here, they

have challenged the application of the AEA and have alleged that they are not members of TdA.

As a result, the Named Petitioners possess no actual injury from any deficiencies in the notice

procedures and, as a result, cannot challenge them.

          The same cannot be said for class members, which include individuals who currently or in

the future are detained or reside in the Southern District of Texas and who Respondents designate

as alien enemies under the Proclamation. 8 The notice procedures may adversely affect them, to


8 At the hearing on the Motion for Preliminary Injunction, Respondents’ counsel represented that no other Venezuelan

detained in the Southern District of Texas has been notified of being designated as an alien enemy under the
Proclamation. But nothing would prevent Respondents from transferring individuals to the Southern District of Texas

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the extent that inadequacies in the notice procedures may prevent them from initiating a habeas

action before their removal. Ultimately, however, the Court need not reach this issue, given its

conclusions as to other issues that the Petitioners present.

          Second, Petitioners argue that the Proclamation fails to satisfy the statute’s terms by

calling for their removal before they have refused or neglected to depart. The AEA empowers the

President “to provide for the removal of those [designated alien enemies] who, not being

permitted to reside within the United States, refuse or neglect to depart therefrom.” 50 U.S.C.

§ 21. Petitioners claim that the Executive Branch has never provided them the opportunity to

“refuse or neglect to depart” from the United States after having been designated alien enemies.

          As Respondents note, however, Section 21 must be read in conjunction with 50 U.S.C. § 22.

See, e.g., Davis v. Michigan Dep’t of Treasury, 489 U.S. 803, 809 (1989) (“It is a fundamental

canon of statutory construction that the words of a statute must be read in their context and with

a view to their place in the overall statutory scheme.”). And that provision indicates that an

individual designated as an alien enemy under Section 21 will be afforded time “for his departure,”

unless he is “chargeable with actual hostility.” 50 U.S.C. § 22. When taken together, the statutory

language provides that the President acting under the AEA need not offer voluntary departure to

alien enemies who the Executive Branch has concluded are engaged in chargeable actual hostility.

And in the present case, the Proclamation declares that the designated alien enemies, as members

of TdA, have engaged in criminal conduct in the United States.

          As a result, the Court concludes that neither the AEA nor the due process clause of the

Fifth Amendment requires that Respondents afford an opportunity to voluntarily depart the

United States to individuals designated under the Proclamation as alien enemies and who are

chargeable with actual hostility.




in the future and, once having transferred them there, notifying them that they have been designated as alien enemies
under the Proclamation.

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          D. Invocation of the Alien Enemies Act

          Petitioners challenge the Respondents’ authority to detain them or order their removal

based on the AEA, contending that the preconditions for the invocation of the statute do not exist.

In particular, Petitioners argue that the government impermissibly “seeks to invoke this limited

wartime authority to execute removals untethered to any actual or imminent war or to the specific

conditions Congress placed in the statute.” (PI Mot., Doc. 42, 22) They dispute that any “invasion”

or “predatory incursion” has occurred, been threatened, or been attempted, as well as that any

“foreign nation or government” has engaged in such conduct.

          Courts normally interpret statutory terms “consistent with their ordinary meaning at the

time Congress enacted the statute.” Wisconsin Cent. Ltd v. United States, 585 U.S. 274, 277 (2018)

(cleaned up); see also Texas v. Trump, 127 F.4th 606, 611 (5th Cir. 2025) (“Absent congressional

direction to the contrary, words in statutes are to be construed according to their ordinary,

contemporary, common meanings.”) (cleaned up) (citing Kennedy v. Tex. Utils., 179 F.3d 258,

261 (5th Cir. 1999); Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 571 (1982) (“[N]o more

persuasive evidence of the purpose of a statute [exists] than the words by which the legislature

undertook to give expression to its wishes.”) (citing United States v. American Trucking Assns.,

Inc., 310 U.S. 534, 543 (1940)). When ascertaining the plain, ordinary meaning of statutory

language that harkens back to the nation’s founding era, courts rely on contemporaneous

dictionary definitions and historical records that reveal the common usage of the terms at issue.

See, e.g., D.C. v. Heller, 554 U.S. 570, 581–83 (2008) (examining founding era writings and

commentaries to determine the commonly understood meaning of “keep and bear arms”); Utah

v. Evans, 536 U.S. 452, 492 (2002) (Thomas, J., concurring) (“Dictionary definitions

contemporaneous with the ratification of the Constitution inform our understanding.”); see also

Cascabel Cattle Co., L.L.C. v. United States, 955 F.3d 445, 451 (5th Cir. 2020) (considering

dictionary definitions from the 1930’s to construe the meaning of terms within the Federal Tort

Claims Act, enacted in 1946); Amoco Prod. Co. v. S. Ute Indian Tribe, 526 U.S. 865, 874 (1999)


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(finding that “the common understanding of coal in 1909 and 1910” would not have encompassed

coalbed methane gas released in the coalmining process). While most English words have

multiple dictionary meanings, courts “use the ordinary meaning of terms unless context requires

a different result.” Gonzales v. Carhart, 550 U.S. 124, 152 (2007). At times, terms can hold more

than one ordinary meaning. See, e.g., United States v. Santos, 553 U.S. 507, 511 (2008) (finding

that the word “proceeds” in a money laundering statute had the commonly accepted meanings of

“receipts” or “profits”). Reviewing courts, however, apply “the contextually appropriate ordinary

meaning, unless there is reason to think otherwise.” ANTONIN SCALIA & BRYAN A. GARNER,

READING LAW: THE INTERPRETATION OF LEGAL TEXTS 70 (2012). “That a definition is broad

enough to encompass one sense of a word does not establish that the word is ordinarily

understood in that sense.” Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 568 (2012)

(emphasis in original) (citing Mallard v. U.S. Dist. Court for Southern Dist. of Iowa, 490 U.S.

296, 301 (1989)).

          Accepted canons help construe statutes. For example, “different words within the same

statute should, if possible, be given different meanings.” See BNSF Ry. Co. v. United States, 775

F.3d 743, 755 n.86 (5th Cir. 2015). In addition, “in determining the meaning of a particular

statutory provision, it is helpful to consider the interpretation of other statutory provisions that

employ the same or similar language.” St. Tammany Par., ex rel. Davis v. Fed. Emergency Mgmt.

Agency, 556 F.3d 307, 320 (5th Cir. 2009). This principle allows courts to consider the meaning

of Constitutional terms to help determine the ordinary meaning of similar statutory terms or

phrases. See 2B SHAMBIE SINGER & NORMAN J. SINGER, SUTHERLAND STATUTES & STATUTORY

CONSTRUCTION § 51:1–3 (7th ed. Nov. 2024 update); see also Morse v. Republican Party of

Virginia, 517 U.S. 186, 221 (1996) (applying the meaning of the word “State” in the Fifteenth

Amendment to determine the meaning of the same word in Section 5 of the Voting Rights Act).

          The historical context for the enactment of a statute can prove relevant, but does not

dictate the statutory words’ meaning. See, e.g., Airlines for Am. v. Dep’t of Transportation, 110


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F.4th 672, 676 (5th Cir. 2024) (confirming that “legislative history is not the law,” and it cannot

“muddy clear statutory language”); Gundy v. United States, 588 U.S. 128, 141 (2019) (explaining

that when attempting to “define the scope of delegated authority,” courts may look at “the purpose

of the Act, its factual background and the statutory context”). Again, courts seek to apply the

plain, ordinary meaning of the words that Congress chose, rather than the subjective intent that

Congress or, more accurately, certain members of Congress may have held regarding the statute.

See, e.g., Oklahoma v. Castro-Huerta, 597 U.S. 629, 642 (2022) (“[T]he text of a law controls over

purported legislative intentions unmoored from any statutory text.”).          Thus, discussion by

Congressional members regarding a statute proves helpful to the extent that it reveals the

accepted usage at the time of the disputed words or phrases. See McDonald v. City of Chicago,

Ill., 561 U.S. 742, 828–29 (2010) (Thomas, J., concurring) (“Statements by legislators can assist

in this process to the extent they demonstrate the manner in which the public used or understood

a particular word or phrase. . . . [T]his evidence is useful not because it demonstrates what the

draftsmen of the text may have been thinking, but only insofar as it illuminates what the public

understood the words chosen by the draftsmen to mean.”).

          The canon of noscitur a sociis at times proves relevant. A statutory word or phrase derives

“more precise content by the neighboring words with which it is associated.” United States v.

Williams, 553 U.S. 285, 294 (2008); see also United States v. Santiago, 96 F.4th 834, 847 (5th

Cir. 2024) (“[W]e must apply noscitur a sociis to understand ‘use’ as akin to, but with a meaning

different from, ‘open, lease, rent, . . . or maintain.’”). Adhering to this canon “avoid[s] ascribing

to one word a meaning so broad that it is inconsistent with its accompanying words, thus giving

unintended breadth to the Acts of Congress.” Yates v. United States, 574 U.S. 528, 537 (2015);

Fischer v. United States, 603 U.S. 480, 487 (2024) (explaining that noscitur a sociis “avoid[s]

ascribing to one word a meaning so broad that it is inconsistent with . . . the company it keeps”)

(quoting Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995)). Courts have applied the canon to

restrict a term to “one of its many possible applications.” SCALIA & GARNER, READING LAW, at 196;


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see also, e.g., Easom v. US Well Svcs., Inc., 37 F.4th 238, 242 (5th Cir. 2022) (“Applying noscitur

a sociis to this case, the appearance of ‘natural disaster’ in a list with ‘flood, earthquake, or

drought’ suggests that Congress intended to limit ‘natural disaster’ to hydrological, geological, and

meteorological events.”); Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv., 968 F.3d 454,

462 (5th Cir. 2020) (applying the canon to exclude “gathering a crop” from the statutory meaning

of “harvesting”).

          To apply noscitur a sociis, however, the statute must contain “a string of statutory terms

[that] raises the implication that the words grouped in a list should be given related meaning.”

United States v. Buluc, 930 F.3d 383, 390 (5th Cir. 2019); see also SCALIA & GARNER, READING

LAW, at 196 (“For the associated-words canon to apply, the terms must be conjoined in such a way

as to indicate that they have some quality in common.”). For example, the Fifth Circuit declined

to apply the canon when the statute did not contain a “string of terms,” but rather “contain[ed]

two independent clauses separated by a disjunctive ‘or.’” United States v. Lauderdale Cnty.,

Mississippi, 914 F.3d 960, 966–67 (5th Cir. 2019); see also Buluc, 930 F.3d at 390 (declining to

apply the canon because the statute contained “not a list of verbs with common features, but two

grammatically distinct categories of verbs (‘connives or conspires’ and ‘takes any other action’)

separated by a disjunctive”).

          With these principles in mind, the Court turns to the meaning of the disputed words and

phrases in the AEA.

             1. “Invasion” and “Predatory Incursion”

          The Proclamation invokes the AEA by declaring that “TdA is perpetrating, attempting, and

threatening an invasion or predatory incursion against the territory of the United States.”

          Petitioners argue that the proper construction of “invasion” and “predatory incursion”

reveals that the Proclamation does not satisfy the conditions required to invoke the statute. They

highlight that Congress enacted the AEA as a war time measure, and that “Congress understood

[‘invasion’ and ‘predatory incursion’] to mean a military incursion into the territory of the United


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States.” (PI Mot., Doc. 42, 22) In support of this reading, they rely on various dictionary

definitions and historical sources that use those terms in a military context. (Id. at 22–23) They

also note, accurately, that no President has invoked the AEA other than during a time of war,

including the War of 1812, World War I, and World War II. Based on their proposed construction,

they argue that the conduct by TdA and Venezuela as described in the Proclamation does not arise

to an invasion or predatory incursion because it does not entail a military action, either actual or

threatened, against the nation. (See Reply, Doc. 47, 11 (proposing that Congress limited the AEA

“to instances of war or imminent war by a foreign nation or government”))

          Respondents urge a broader reading. They contend that while the definitions for these

terms “include military action, . . . neither is limited to such action.” (Resp., Doc. 45, 26 (emphasis

in original)) According to Respondents, an invasion can include any “hostile entrance” or “hostile

encroachment,” while a “‘predatory incursion’ encompasses (1) an entry into the United States

(2) for purposes contrary to the interests or law of the United States.” (Id.) Applying these broader

concepts to the Proclamation, Respondents argue that the Proclamation accurately describes an

“invasion” or “predatory incursion” by detailing that “TdA’s illegal entry and continued unlawful

presence is an encroachment on U.S. territory that entails hostile acts contrary to the rights of

citizens to be free from criminality and violence.” (Id. at 25)

          Petitioners’ briefing contains numerous sources contemporaneous to the enactment of the

AEA in which “invasion” and “predatory incursion” expressly reference or imply military action.

Those sources include dictionary definitions, historical records such as letters, and court

decisions. For example:

          Webster’s Dictionary, Invasion (1828): “particularly, the entrance of a hostile army
          into a country for purpose of conquest or plunder, or the attack of a military force”;

          Johnson’s Dictionary, Invasion (1773): “[h]ostile entrance upon the right or
          possession of another; hostile encroachment,” such as when “William the
          Conqueror invaded England”;

          “Small, predatory incursions of the French, though they might occasion great
          destruction of property, would not be dangerous, and the militia might be


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          sufficient to repel them; but what we have to guard against is an invasion by a
          powerful army of veterans: and I do not know any body of militia adequate to stop
          their progress; and a fatal pannic might be the consequence.” Timothy Pickering
          to Alexander Hamilton (June 9, 1798) (emphasis added).

          “I am much obliged to your Excellency for your letter of the 10th. of January, giving
          me an account of the enemy’s incursion into your state. . . . But as the evils you
          have to apprehend from these predatory incursions are not to be compared with
          the injury to the common cause and with the danger to your state in particular,
          from the conquest of those states southward of you, I am persuaded the attention
          to your imediate safety will not divert you from the measures intended to reinforce
          the Southern Army and put it in a condition to stop the progress of the enemy in
          that Quarter.” Letter from George Washington to Thomas Jefferson (Feb. 6, 1781)
          (emphasis added).

          Huidekoper’s Lessee v. Douglass, 7 U.S. (3 Cranch) 1, 11 (1805) (explaining that in
          1792, “an Indian war existed on [Pennsylvania’s] frontier” and the state population
          desired to “repel the predatory incursions of the Indians”).

(PI Mot., Doc. 42, 22–23)

          Respondents do not challenge these usages.                      Instead, they contend that other

contemporaneous sources reflect a broader understanding of “invasion,” with no express or

implicit military requirement. In support of their construction, however, they provide only two

examples, both of them from dictionaries. One authority defines “invasion” as any “hostile

entrance.” 1 JOHN ASH, THE NEW AND COMPLETE DICTIONARY OF THE ENGLISH LANGUAGE (1775).

And A Complete Dictionary of the English Language, a source on which Petitioners also rely,

includes “hostile encroachment” as a definition, with no reference to military force. See Invasion,

A DICTIONARY OF THE ENGLISH LANGUAGE (1773). Respondents identify no other historical records

supporting their proposed meaning of “invasion,” and they offer no sources from the nation’s

founding era as to the ordinary meaning of “predatory incursion.”

          To augment the parties’ submissions, the Court reviewed numerous historical records

using “invasion,” “predatory incursion,” and “incursion” for the period from 1780 through 1820.

See Appendix A (identifying records and providing links). 9 The review strongly supported the


9 The Court utilized Founders Online, a database of historical records that the National Archives maintains.     Courts
have used this database for similar analyses. See, e.g., Carpenter v. United States, 585 U.S. 296, 347 (2018) (Thomas,
J., dissenting) (using the database to note that the phrase “expectation(s) of privacy” did not appear in “the papers of
the prominent Founders”); In re MCP No. 165, Occupational Safety & Health Admin., Interim Final Rule: COVID-19

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Petitioners’ position. In the significant majority of the records, the use of “invasion” and

“predatory incursion” referred to an attack by military forces. This held true even when the

historical record did not concern the Revolutionary War or the War of 1812. The usages of

“predatory incursion” at times referred to entries by Native Americans into the western territories,

as did usages of “incursion.” But even these records refer to an organized group of armed

individuals entering an area to attack a fort, settlement, or town, and the writer typically discussed

the need for a military response to the entry. In only a few sources did the use of “invasion” or

“predatory incursion” reference a non-military action. While the Court does not represent that

its review constitutes a vigorous corpus linguistics analysis, the results provide a significant level

of confidence that a complete review would generate similar conclusions.

          The Court’s research for judicial decisions that utilized “predatory incursion” during the

relevant time period returned only two results. In both usages, the courts referenced “predatory

incursions” to describe conduct by Native Americans, in one instance as part of an “Indian war”

and in the other in connection with the authority of a military officer. See Huidekoper’s Lessee v.

Douglass, 3 Cranch 1, 7 U.S. 1, * 7 (1805) (explaining the passage of a statute as motivated by the

fact that “an Indian war existed on [Pennsylvania’s] frontier[,]” and the state’s population were

“bound by their dearest interests to watch and repel the predatory incursions of the Indians”);

Russell’s Lessee v. Baker, 1 H. & J. 71, 1800 WL 441, at *6 (Gen. Ct. Maryland 1800) (“But it does

not follow under this grant of power that he had a right to declare war or make peace; for there is

no instance of a captain general of an army having the power, as captain general, to do either. The

powers, granted under this section of the charter were granted to guard against and repel the

predatory incursions of the Indians . . . and to prevent and to suppress insurrections[.]”).




Vaccination & Testing, 20 F.4th 264, 289 (6th Cir. 2021) (Bush., J., dissenting) (using the database to show how the
government in the founding era responded to epidemics). The Court reviewed all results for the phrase “predatory
incursion,” but used a number randomizer to select a subset from the search results for “invasion” and “incursion.” See
https://www.calculator.net/random-number-generator.html. The Appendix contains all results from the random
subset for “invasion” and “incursion,” including a few that proved not relevant, such as one in a foreign language.

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          In addition, the Court located only one relevant historical record from the debates over

the AEA. Representative Robert Harper moved to strike the phrase “predatory incursion” from

the proposed legislation, based on his belief that the bill granted “very extensive” powers that “he

did not think ought to be given except in case of serious attack.” 8 Annals of Congress 1786. After

debate, he withdrew his objection, “alleging that he had not rightly understood the section.” Id.

The usage in this record suggests that the members viewed “predatory incursion” as a term

implicitly referencing a “serious attack.” Id. But as the nature of the “serious attack” is not clear,

the reference represents a usage where military context is not present or implicit.

          The Constitution itself references “invasion” on two occasions, each time in a military

context. In Article IV, Section 4, the Constitution requires the United States to “protect each of

[the states] against Invasion.” At least one court has concluded that “invasion” under this

provision requires “armed hostilities” and does not include mass immigration. Padavan v. United

States, 82 F.3d 23, 28 (2d Cir. 1996) (“In order for a state to be afforded the protections of the

Invasion Clause, it must be exposed to armed hostility from another political entity, such as

another state or foreign country that is intending to overthrow the state’s government.”). Also,

Article I, Section 9 prohibits Congress from suspending the writ of habeas corpus, “unless when

in Cases of Rebellion or Invasion the public Safety may require it.” Although courts have not had

to define what constitutes an invasion supporting the suspension of the writ, the use of

“Rebellion,” which refers to an armed uprising, suggests that both terms refer to a military attack,

either from within or without. In addition, the Constitution in Article I, Section 10, Clause 3 also

provides that a state may not “engage in War, unless actually invaded, or in such imminent Danger

as will not admit of delay.” This use of the related term, “invaded,” expressly concerns warfare.

          The historical records that the parties present, supplemented by the additional records

that the Court reviewed, demonstrate that at the time of the AEA’s enactment, the plain, ordinary

meaning of “invasion” was an entry into the nation’s territory by a military force or an organized,

armed force, with the purpose of conquering or obtaining control over territory. In a similar vein,


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the common usage of “predatory incursion” and, to a lesser degree, “incursion,” referenced a

military force or an organized, armed force entering a territory to destroy property, plunder, and

harm individuals, with a subsequent retreat from that territory. Although other uses exist for

these terms, those rare uses do not represent the ordinary meaning of those terms.

          The Court, however, does not adopt Petitioners’ position that the terms require a war or

an imminent war. In support of their argument, Petitioners rely on noscitur a sociis. But the

Court finds the canon inapplicable. The AEA does not contain “a string of statutory terms [that]

raises the implication that the words grouped in a list should be given related meaning.” Buluc,

930 F.3d at 390. Instead, Congress identified three scenarios that enable the President to invoke

the AEA—i.e., a declared war, an invasion, or a predatory incursion. The structure of the AEA

does not require that the latter two (“invasion” and “predatory incursion”) must be precursors to

the first (“declared war”). When construing similar grammatical structures, courts have declined

to apply the doctrine. See, e.g., Lauderdale County, 914 F.3d at 967 (rejecting the application of

the canon to text containing “two independent clauses separated by a disjunctive ‘or’”); Buluc,

930 F.3d at 391 (declining to apply the canon because the statute contained “not a list of verbs

with common features, but two grammatically distinct categories of verbs (‘connives or conspires’

and ‘takes any other action’)”). Thus, while the Court finds that an “invasion” or “predatory

incursion” must involve an organized, armed force entering the United States to engage in conduct

destructive of property and human life in a specific geographical area, the action need not be a

precursor to actual war.

             2. “Foreign Nation or Government”

          Petitioners also argue that the Proclamation fails to properly invoke the AEA because it is

not based on an invasion or predatory incursion “by any foreign nation or government.” (PI Mot.,

Doc. 42, 26–28) In advancing this argument, they propose that the terms “refer to an entity that

is defined by its possession of territory and legal authority.” (Id. (citing Nation, JOHNSON’S

DICTIONARY (1773) (“A people distinguished from another people; generally by their language,


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original, or government.”))) They note that the AEA references “natives, citizens, denizens, or

subjects” of the hostile foreign nation or government, which excludes concepts such as gangs or

organizations, which possess members.

          For their part, Respondents offer that “government” more broadly references “the power

or authority that one person exercises over another.” (Resp., Doc. 45, 28 (citing THOMAS DYCHE

& WILLIAM PARDON, A NEW GENERAL ENGLISH DICTIONARY (1754)))

          Neither party claims that “foreign nation or government” excludes recognized countries

such as the United States and Venezuela. Thus, and for the reasons explained in the next section,

the Court finds that resolving the precise meaning of “foreign nation or government” is

unnecessary to resolve the issues in this lawsuit.

             3. Application

          Having determined the meaning of the relevant statutory terms, the Court considers

whether as a matter of law, the Proclamation exceeded the statutory boundaries that the AEA

establishes. The Court concludes that it did.

          First, the Court finds that the Proclamation places the government of Venezuela as the

controlling entity over TdA’s activities in the United States. According to the Proclamation, TdA

“undertak[es] hostile actions and conduct[s] irregular warfare against the territory of the United

States both directly and at the direction . . . of the Maduro regime in Venezuela.” Proclamation,

90 Fed. Reg. 13033 (emphasis added). According to the Proclamation, Maduro, “who claims to

act as Venezuela’s President . . . leads the regime-sponsored enterprise Cártel de los Soles, which

coordinates with and relies on TdA . . . to carry out its objective of using illegal narcotics as a

weapon[.]” Id. (emphasis added). Although the Proclamation focuses on TdA’s activities in the

United States, it places control of those activities in Maduro, acting in his claimed role of President

of Venezuela. In other words, the Proclamation declares that the country of Venezuela, through

Maduro, directs and controls TdA’s activities in the United States. Respondents accurately

characterize the Proclamation’s message: “TdA has become indistinguishable from the


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Venezuelan state.” (Resp., Doc. 45, 27) As a result, the Court concludes that the Proclamation

places responsibility for TdA’s actions in the United States on the Venezuelan government, which

satisfies this aspect of the AEA. 10

          As for the activities of the Venezuelan-directed TdA in the United States, and as described

in the Proclamation, the Court concludes that they do not fall within the plain, ordinary meaning

of “invasion” or “predatory incursion” for purposes of the AEA. As an initial matter, no question

exists that the Proclamation references the entry of TdA members into the United States.

Proclamation, 90 Fed. Reg. 13033 (declaring that “many” TdA members have “unlawfully

infiltrated the United States”). And these members’ objectives include “harming United States’

citizens [and] undermining public safety[.]” Id. In addition, the Proclamation also references the

decision of a federal agency during the administration of President Joseph Biden to designate TdA

as a “significant transnational criminal organization,” which, in relevant part, denotes “a group of

persons that . . . engages in or facilitates an ongoing pattern of serious criminal activity . . . that

threatens the national security, foreign policy, or economy of the United States.” 31 C.F.R.

§ 590.312.      That designation received substantial public approval, with supporters often

referencing the criminal activity that TdA members allegedly engaged in within the United States.

          Those factual statements depict conduct by TdA that unambiguously is harmful to society

in this country. And as previously explained, the political question doctrine prohibits the Court

from weighing the truth of those factual statements, including whether Maduro directs TdA’s

actions or the extent of the referenced criminal activity. Instead, the Court determines whether

the factual statements in the Proclamation, taken as true, describe an “invasion” or “predatory

incursion” for purposes of the AEA.

          Based on the plain, ordinary meaning of those terms in the late 1790’s, the Court concludes

that the factual statements do not. The Proclamation makes no reference to and in no manner




10 Given this conclusion, the Court need not reach whether TdA itself represents a “foreign nation or government.”



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suggests that a threat exists of an organized, armed group of individuals entering the United States

at the direction of Venezuela to conquer the country or assume control over a portion of the

nation. Thus, the Proclamation’s language cannot be read as describing conduct that falls within

the meaning of “invasion” for purposes of the AEA.                      As for “predatory incursion,” the

Proclamation does not describe an armed group of individuals entering the United States as an

organized unit to attack a city, coastal town, or other defined geographical area, with the purpose

of plundering or destroying property and lives. While the Proclamation references that TdA

members have harmed lives in the United States and engage in crime, the Proclamation does not

suggest that they have done so through an organized armed attack, or that Venezuela has

threatened or attempted such an attack through TdA members. As a result, the Proclamation also

falls short of describing a “predatory incursion” as that concept was understood at the time of the

AEA’s enactment. 11

          For these reasons, the Court concludes that the President’s invocation of the AEA through

the Proclamation exceeds the scope of the statute and, as a result, is unlawful. Respondents do

not possess the lawful authority under the AEA, and based on the Proclamation, to detain

Venezuelan aliens, transfer them within the United States, or remove them from the country.

          E. Convention against Torture

          Petitioners’ final legal theory is that the Proclamation “violates the specific protections

that Congress established under the INA for noncitizens seeking humanitarian protection.” (PI

Mot., Doc. 42, 30–31) They explain that the Foreign Affairs Reform and Restructuring Act

codified the United Nations Convention against Torture and Other Cruel, Inhuman, or Degrading

Treatment or Punishment (the “Convention”), and that the Convention and United States statutes

work together to “ensure that noncitizens have meaningful opportunities to seek protection from


11 The Proclamation also declares that TdA is “conducting irregular warfare.” Proclamation, 90 Fed. Reg. 13033.

Respondents do not contend that a “declared war” exists between Venezuela and the United States. Thus, to the extent
that Respondents argue that “conducting irregular warfare” constitutes an “invasion” or “predatory incursion,” the
Court finds that the language merely refers to the conduct by TdA as described throughout the Proclamation. And that
conduct, as the Court has explained, does not depict an “invasion” or “predatory incursion” for purposes of the AEA.

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torture” and to “prohibit[ ] returning a noncitizen to any country where they would more likely

than not face torture.” (Resp., Doc. 42, 30–31) They submit evidence describing alarming abuses

within the El Salvadorean prison, CECOT, to which Petitioners claim the United States has sent

and will continue to send individuals designated as alien enemies under the Proclamation. (See

Declaration of Juanita Goebertus, Doc. 42–6)

          Respondents argue that 8 U.S.C. § 1252(a)(4) “divests this Court of jurisdiction to review

any cause or claim under the [Convention].” (Resp., Doc. 45, 25 (quoting Benitez-Garay v. DHS,

No. SA-18-CA-422-XR, 2019 WL 542035, at *7 (W.D. Tex. 2019)))

          The Fifth Circuit does not appear to have addressed a similar issue, and certainly not one

involving the interplay between the AEA, the INA, and the Convention. The Second Circuit,

however, in a case analogous to the present lawsuit, recently agreed that Section 1252(a)(4) barred

a consideration of Convention-based arguments in a habeas proceeding. See Kapoor v. DeMarco,

132 F.4th 595, 608 (2d Cir. 2025). In that case, a court granted a request for a certificate of

extraditability against Monika Kapoor, an Indian citizen. She filed a habeas petition that “rest[ed]

on the central claim that the Department of State failed to conduct a meaningful review of her

claim that she will likely be tortured if she is extradited to India, in violation of [the Convention].”

Id. at 606. Rejecting that argument, the court emphasized the statute’s broad language:

          Notwithstanding any other provision of law (statutory or nonstatutory), including
          section 2241 of title 28, or any other habeas corpus provision, and sections 1361
          and 1651 of such title, a petition for review filed with an appropriate court of
          appeals in accordance with this section shall be the sole and exclusive means for
          judicial review of any cause or claim under the United Nations Convention Against
          Torture and Other Forms of Cruel, Inhuman, or Degrading Treatment or
          Punishment, except as provided in subsection (e).

8 U.S.C. § 1252(a)(4). Based on this provision, the Second Circuit concluded that “the language

of Section 1252(a)(4) plainly bars any habeas review of CAT claims[.]” Kapoor, 132 F.4th at 609.

The Fourth Circuit and at least one federal district court in Texas have reached similar

conclusions. See Mironescu v. Costner, 480 F.3d 664 (4th Cir. 2007); Benitez-Garay, 2019 WL

542035.


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          The Court finds the reasoning of these decisions persuasive. Section 1252(a)(4) leaves no

room for discretion, and divests this Court of considering in this habeas action whether removal

under the AEA would violate the Convention. At the hearing on the Motion for Preliminary

Injunction, Petitioners’ counsel attempted to distinguish Kapoor on the grounds that it concerns

extradition. But that distinction does not narrow the reach of Section 1252(a)(4). As a result, the

Court concludes that it does not possess jurisdiction to consider Petitioners’ challenges to the

Proclamation based on the Convention.

III.      Conclusion

          The Court has concluded that J.A.V., J.G.G., and W.G.H., in their individual capacity and

as representatives of the certified class, have demonstrated entitlement to relief in habeas.

Respondents have designated or will designate them as alien enemies under the Proclamation,

subjecting them to unlawful detention, transfer, and removal under the AEA. As a result, J.A.V.,

J.G.G., and W.G.H. are each entitled to the granting of their Petition for a Writ of Habeas Corpus,

and a permanent injunction prohibiting Respondents from employing the Proclamation and the

AEA against them. The certified class warrants similar protection. The Court will issue a Final

Judgment with the appropriate relief.

          To the extent that J.A.V., J.G.G., and W.G.H., or any member of the certified class, have

been detained or are detained in the future pursuant to the Immigration and Nationality Act, they

have not sought and do not obtain any relief. In addition, the conclusions of the Court do not

affect Respondents’ ability to continue removal proceedings or enforcement of any final orders of

removal issued against J.A.V., J.G.G., and W.G.H, or against any member of the certified class,

under the Immigration and Nationality Act.

          Signed on May 1, 2025.


                                                      ____________________________
                                                      Fernando Rodriguez, Jr.
                                                      United States District Judge



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